                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                           CIVIL ACTION NO. 5:15-CV-00583-F

ADOLPHO BEASLEY, JOHNATHAN
CLARK, and CAL YIN MCINTYRE,
individually and on behalf of all persons
similarly situated,
                                                                 ORDER
                Plaintiffs,

       v.

CUSTOM COMMUNICATIONS, INC.,

                Defendant.



       Upon motion of the parties, through counsel and for good cause shown, it is ORDERED

that the parties are to conduct a discovery conference within 21 days of the Court's decision on

Plaintiff's Motion to Allow Notice to Be Sent to Potential Plaintiffs Informing Them of Their

Right to Opt-In to This Case Under the Fair Labor Standards Act, 29 U.S.C. § 216(b) and are to

submit their proposed discovery plan within 14 days after said discovery conference.

       IT IS SO ORDERED

       This the    ?-     day of March, 2016.

                                                    Robert B. Jones, Jr.
                                                    United States Magistrate Judge




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